         Case 3:02-cr-00625-L                Document 633             Filed 11/04/13               PageID.3749              Page 1 of 4



    'llt.A0245D   (Rev. 3/01) Judgment in a Criminal Case for Revocations
                  Sheet 1

                                        UNITED STATES DISTRICT CaVItt,!::"-4
                     SOUTHERN                                    District of                                   CALIFORNIA - ~<&:
                   UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE DEPljn
                                   v.                                     (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses Committed On or After November], ] 987)
                      DONALD BANDY (9)

                                                                          Case Number: 02CR0625-L
                                                                          KAREN LEHMANN OF FEDERAL DEFENDERS, INC.
                                                                          Defendant's Attomey
    REGISTRATION No. 82320198
o
    THE DEFENDANT:
     o  admitted guilt to violation of a1Jegation(s) No.   FOUR (4)
                                                           ----~~--------------
     o   was found in violation of a1legation(s) No.                                               after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):


    Allegation Number                   Nature or Violation
              4           Unlawful use of controlled substance




       Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through              4      of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and Umted States attorney of any material change in the
    defendant's economic circumstances.

                                                                          OCTOBER 31, 2013
                                                                         Dale of Imposition of Sentence




                                                                                                                                   02CR0625-L
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AO 245B     (Rev. 9/00) Judgment in Criminal Case
             Sheet 2 -   Imprisonment

                                                                                               Judgment   Page _ _2 _ of           4
DEFENDANT: DONALD BANDY (9)
CASE NUMBER: 02CR0625-L
                                                               IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          THIRTY (30) DAYS.



   o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            o at 12:00                                [)l.m.    0J>.m.    on   NOVEMBER 4,2013

                 as notified by the United States Marshal.

    DThe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o before -------------------------------------------------
           o as notified by the United States Marshal.
           o as notified the Probation or Pretrial Services Office.
                               by



                                                                  RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                  to

 at ___________________ , with a certified copy of this judgment.


                                                                                             UNIlED STAlES MARSHAL


                                                                         By ________~~~~~~~~__-----------­
                                                                                        "PEPltr.r WITED SlATES MARSHAL




                                                                                                                           02CR0625-L
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AO 245D      (Rev. 3/10) Judgment in a Criminal Case for Revocations
             Sheet 3 - Supervi!iOO Release
                                                                                                            Judgment~Page   ---1.- of _ _4'--__
DEFENDANT: DONALD BANDY (9)                                                                         o
CASE NUMBER: 02CR0625-L
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of;
TIflRTY (30) MONTHS.


         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau ofPnsons.
The defendant shall not commit another federa~ state or local crime.
For offenses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug t~sts
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month dUTlng
the term of supervision, unless otherwise ordered by court.

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, iftbe collection of such a sammple is authorized
       pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)

o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in acc.orda11ce with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
  I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
         each month;
  3)     the defendant shall answer truthfully al1 inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except asprescribedby a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used,~'di~tributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony. unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confIScation of any
         contraband observed in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 \3)      as directed by the pro.bation officer, the ~e~endant shall notify .third parties ?friskstha1_l1ffY \?e.occasione.d by ~he defendant's criminal
          record or personal hIstory or characterISticS and shall permIt the probatIOn officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.
                                                                                                                                         02CR0625-L
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       AO 245B     (Rev. 9/00) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                       Judgment-Page - . i - of _.....:.4_ _
       DEFENDANT: DONALD BANDY (9)                                                                a
       CASE NUMBER: 02CR0625-L




                                               SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition ofrelease; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

o If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer with 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
181 Abstain from the use of illicit substances.
181 Not associate with narcotics traffickers.
181 Not associate with gang members or associates of the West Coast Crips.
181 Participate in literacy classes and obtain a GED or diploma.
181 Participate and complete a DUI Program (specifically at the MAAC Project), as directed by the probation officer.
o Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o Not associate with known users' of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant may be required
    to contribute to the costs of services rendered in an amount to be determined by the probation offic~r, based on the defendant's ability to pay.

D Take no medication containing a controlled substance without valid medical prescriptio~", i~dTpr~~ide proof of prescription to the probation
    officer, if directed.
D Participate in a mental health treatment program as directed by the probation office.
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.                                                                                     .
o Seek and maintain full time employment and/or schooling or a combination ofboth.
D Resolve all outstanding warrants within           days.
181 Enter and complete a residential drug treatment program as directed by the probation officer.
181 Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of up to 120 days.
o   Reside in a Residential Reentry Center (RRC) as directed by the Bureau of Prisons for a period of
    commencing upon release from imprisonment.

D Remain in your place of residence for a period of                            , except while working at verifiable employment, attending religious
    services or undergoing medical treatment.
D Not engage in any form of telemarketing, as defined in 18 USC 2325, without the written permission ofthe probation officer.
D Comply with the conditions of the Home Confinement Program for a period of                                 months and remain at your residence
    except for activities or employment as approved by the court or probation officer. Wear an electronic monitoring device and follow
    procedures specified by the probation officer. Pay the total cost of electronic monitoring services, or a portion if deemed appropriate by the
    probation officer.

181 Participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling, as directed by the probation officer.
    The defendant may be required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based
    on the defendant's ability to pay.

                                                                                                                                       02CR0625-L
